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                       UNITED STATES DISTRICT COURT
10
                      CENTRAL DISTRICT OF CALIFORNIA
11
   VLADIMIR TSIPURSKY,                        Case No. 2:18-cv-10167
12 individually, and INNA TSIPURSKY,
13 individually,                              COMPLAINT FOR DAMAGES

14                        Plaintiffs,           1. Fourth Amendment—Detention
                                                   and Arrest (42 U.S.C. § 1983)
15          vs.                                 2. Fourth Amendment—Excessive
16                                                 Force (42 U.S.C. § 1983)
   CITY OF LONG BEACH; and DOES                 3. Municipal Liability—Ratification
17 1-10, inclusive,
                                                   (42 U.S.C. § 1983)
18                                              4. Municipal Liability—Inadequate
                                                   Training (42 U.S.C. § 1983)
19                       Defendants.
                                                5. Municipal Liability—
20                                                 Unconstitutional Custom, Practice,
                                                   or Policy (42 U.S.C. § 1983)
21
                                                6. False Arrest/False Imprisonment
22                                              7. Battery
                                                8. Negligence
23
                                                9. Violation of Cal. Civil Code § 52.1
24
25                                            DEMAND FOR JURY TRIAL

26
27
28

                                                                COMPLAINT FOR DAMAGES
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 1                             COMPLAINT FOR DAMAGES
 2         COMES NOW, Plaintiffs Vladimir Tsipursky, individually, and Inna
 3 Tsipusky, individually, for their Complaint against Defendants City of Long Beach
 4 and DOES 1-10, inclusive, alleges as follows:
 5                              JURISDICTION AND VENUE
 6         1.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331
 7 and 1343(a)(3)-(4) because Plaintiff asserts claims arising under the laws of the
 8 United States including 42 U.S.C. § 1983 and the Fourth and Fourteenth
 9 Amendments of the United States Constitution. This Court has supplemental
10 jurisdiction over Plaintiffs’ claims arising under state law pursuant to 28 U.S.C. §
11 1367(a), because those claims are so related to the federal claims that they form part
12 of the same case or controversy under Article III of the United States Constitution.
13         2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because
14 Defendants reside in this district and all incidents, events, and occurrences giving
15 rise to this action occurred in this district.
16                                     INTRODUCTION
17         3.     This civil rights and state tort action seeks compensatory and punitive
18 damages from Defendants for violating various rights under the United States
19 Constitution and state law in connection with the officer-involved shooting and
20 beating of Vladimir Tsipursky and detention of Inna Tsipursky on June 25, 2018.
21                                          PARTIES
22         4.     At all relevant times, Plaintiff VLADIMIR TSIPURSKY is an
23 individual residing in the City of Long Beach, California.
24         5.     At all relevant times, Plaintiff INNA TSIPURSKY is an individual
25 residing in the City of Long Beach, California.
26         6.     At all relevant times, Defendant CITY OF LONG BEACH (“CITY”) is
27 and was a municipal corporation existing under the laws of the State of California.
28 CITY is a chartered subdivision of the State of California with the capacity to be

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 1 sued. CITY is responsible for the actions, omissions, policies, procedures, practices,
 2 and customs of its various agents and agencies, including the Long Beach Police
 3 Department (“LBPD”) and its agents and employees. At all relevant times,
 4 Defendant CITY was responsible for assuring that the actions, omissions, policies,
 5 procedures, practices, and customs of the and its employees and agents complied
 6 with the laws of the United States and of the State of California. At all relevant
 7 times, CITY was the employer of Defendants DOES 1-10.
 8        7.     At all relevant times, Defendants DOES 1-5 (“DOE OFFICERS”) are
 9 officers for the LBPD who were acting under color of law within the course and
10 scope of their duties as officers for the LBPD. DOES 1-5 were acting with the
11 complete authority and ratification of their principal, Defendant CITY.
12        8.     At all relevant times, Defendants DOES 6-10 are managerial,
13 supervisorial, and policymaking employees of the LBPD, who were acting under
14 color of law within the course and scope of their duties as managerial, supervisorial,
15 and policymaking employees for the LBPD. DOES 6-10 were acting with the
16 complete authority and ratification of their principal, Defendant CITY.
17        9.     On information and belief, DOES 1-10 were residents of the City of
18 Long Beach, County of Los Angeles.
19        10.    In doing the acts and failing and omitting to act as hereinafter
20 described, Defendants DOES 1-5 acting on the implied and actual permission and
21 consent of Defendants LBPD and DOES 6-10.
22        11.    The true names and capacities, whether individual, corporate,
23 association or otherwise of Defendants DOES 1-10, inclusive, are unknown to
24 Plaintiff, who otherwise sues these Defendants by such fictitious names. Plaintiff
25 will seek leave to amend this complaint to show the true names and capacity of
26 these Defendants when they have been ascertained. Each of the fictitiously-named
27 Defendants is responsible in some manner for the conduct or liabilities alleged
28 herein.

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 1         12.   At all times mentioned herein, each and every defendant was the agent
 2 of each and every other defendant and had the legal duty to oversee and supervise
 3 the hiring, conduct, and employment of each and every defendant.
 4         13.   All of the acts complained of herein by Plaintiff against Defendants
 5 were done and performed by said Defendants by and through their authorized
 6 agents, servants, and/or employees, all of whom at all relevant times herein were
 7 acting within the course, purpose, and scope of said agency, service, and/or
 8 employment capacity. Moreover, Defendants and their agents ratified all of the acts
 9 complained of herein.
10         14.   DOES 1-10 are sued in their individual capacity.
11         15.   On or around August 13, 2018, Plaintiffs VLADIMIR TSIPURSKY
12 and INNA TSIPURSKY filed a comprehensive and timely claim for damages with
13 the City of Long Beach in substantial compliance with §910 of the California
14 Government Code. Said claim was rejected on October 2, 2018.
15
16                FACTS COMMON TO ALL CLAIMS FOR RELIEF
17         16.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
18 through 15 of this Complaint with the same force and effect as if fully set forth
19 herein.
20         17.   This incident occurred on June 25, 2018, at approximately 4:00 a.m. in
21 the City of Long Beach. DOE OFFICERS responded to the Covenant Manor
22 retirement housing community located at 600 E. Fourth Street in Long Beach,
23 California following reports of shots fired after a fire and explosion.
24         18.   Plaintiffs VLADIMIR TSIPURSKY and INNA TSIPURSKY were
25 residents of Covenant Manor at the time of the incident and were evacuating the
26 building due to the fire in their building. As Plaintiffs VLADIMIR TSIPURSKY
27 and INNA TSIPURSKY made their way down the stairs of the building, DOE
28 OFFICERS shot VLADIMIR TSIPURSKY, striking him in the abdomen.

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 1 VLADIMIR TSIPURSKY did not pose an immediate threat of serious bodily injury
 2 or death to anyone at the time of the shooting.
 3          19.   On information and belief, DOE OFFICERS failed to give a warning
 4 that deadly force was going to be used before shooting at VLADIMIR
 5 TSIPURSKY, despite it being feasible to do so.
 6          20.   After VLADIMIR TSIPURSKY was shot, both he and INNA
 7 TSIPURSKY continued to make their way out of the building. When VLADIMIR
 8 TSIPURSKY and INNA TSIPURSKY exited the building, they were both
 9 immediately detained by DOE OFFICERS without reasonable suspicion or probable
10 cause.
11          21.   DOE OFFICERS subsequently arrested VLADIMIR TSIPURSKY
12 without probable cause and transported him to St. Mary Medical Center in Long
13 Beach, California. While at the hospital and still in police custody, DOE OFFICERS
14 approached VLADIMIR TSIPURSKY and punched him in the face. VLADIMIR
15 TSIPURSKY had already been arrested and was in police custody at the time of the
16 assault and was not resisting arrest.
17          22.   DOE OFFICERS detained INNA TSIPURSKY without reasonable
18 suspicion and arrested her without probable cause following the shooting. DOE
19 OFFICERS held INNA TSIPURSKY and questioned her for several hours.
20
21                             FIRST CLAIM FOR RELIEF
22            Fourth Amendment—Detention and Arrest (42 U.S.C. § 1983)
23   (Plaintiffs VLADIMIR TSIPURSKY and INNA TSIPURSKY against Defendants
24                                    DOE OFFICERS)
25          23.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
26 through 22 of this Complaint with the same force and effect as if fully set forth
27 herein.
28

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 1         24.   Defendants DOE OFFICERS had no objectively reasonable or
 2 specifically articulable factual basis to suspect that VLADIMIR TSIPURSKY and
 3 INNA TSIPURSKY were involved in the commission of any crime, nor did
 4 Defendants DOE OFFICERS have any confirmation that VLADIMIR TSIPURSKY
 5 and INNA TSIPURSKY had committed any crime, posed any threat to anyone, and
 6 did not see VLADIMIR TSIPURSKY and INNA TSIPURSKY in possession of any
 7 illegal objects, contraband, or weapons.
 8         25.   Defendants DOE OFFICERS detained VLADIMIR TSIPURSKY and
 9 INNA TSIPURSKY without reasonable suspicion. Defendants DOE OFFICERS
10 arrested VLADIMIR TSIPURSKY without probable cause. The scope and manner
11 of Defendants DOE OFFICERS’ detention and arrest of VLADIMIR TSIPURSKY
12 and INNA TSIPURSKY was unreasonable.
13         26.   The conduct of Defendants DOE OFFICERS violated VLADIMIR
14 TSIPURSKY and INNA TSIPURSKY’s right to be secure in their person against
15 unreasonable searches and seizures as guaranteed to DECEDENT under the Fourth
16 Amendment to the United States Constitution and applied to state actors by the
17 Fourteenth Amendment.
18         27.   The conduct of Defendants DOE OFFICERS was willful, wanton,
19 malicious, and done with reckless disregard for the rights and safety of VLADIMIR
20 TSIPURSKY and INNA TSIPURSKY and therefore warrants the imposition of
21 exemplary and punitive damages as to Defendants DOE OFFICERS.
22         28.   As a result of their misconduct, Defendants DOE OFFICERS are liable
23 for VLADIMIR TSIPURSKY and INNA TSIPURSKY’s injuries.
24         29.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
25 seeks compensatory damages for the violation of Plaintiff VLADIMIR
26 TSIPURSKY’s rights. Plaintiff INNA TSIPURSKY brings this claim individually
27 and seeks compensatory damages for the violation of Plaintiff INNA TSIPURSKY’s
28 rights. Plaintiffs also seek attorney’s fees under this claim.

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 1                           SECOND CLAIM FOR RELIEF
 2               Fourth Amendment —Excessive Force (42 U.S.C. § 1983)
 3       (Plaintiff VLADIMIR TSIPURSKY against Defendants DOE OFFICERS)
 4         30.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 5 through 29 of this Complaint with the same force and effect as if fully set forth
 6 herein.
 7         31.   Defendants DOE OFFICERS used excessive force against VLADIMIR
 8 TSIPURSKY when they shot at him and subsequently punched him in the face.
 9 Defendants DOE OFFICERS’ unjustified use of force deprived VLADIMIR
10 TSIPURSKY of his right to be secure in his person against unreasonable searches
11 and seizures as guaranteed to VLADIMIR TSIPURSKY under the Fourth
12 Amendment to the United States Constitution and applied to state actors by the
13 Fourteenth Amendment.
14         32.   As a result of the foregoing, VLADIMIR TSIPURSKY suffered great
15 physical pain and emotional distress.
16         33.   The conduct of Defendants DOE OFFICERS was willful, wanton,
17 malicious, and done with reckless disregard for the rights and safety of
18 DECEDENT, and therefore warrants the imposition of exemplary and punitive
19 damages as to Defendants DOE OFFICERS.
20         34.   The shooting was excessive and unreasonable, and VLADIMIR
21 TSIPURSKY posed no immediate threat of death or serious bodily injury at the time
22 of the shooting. The subsequent punching was excessive and unreasonable as
23 VLADIMIR TSIPURSKY posed no threat of harm to anyone and was not resisting
24 arrest at the time of the punching. Further, Defendants DOE OFFICERS’ shooting
25 and use of force violated their training and standard police officer training.
26         35.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
27 seeks compensatory damages for the violation of his rights. PLAINTIFF also seeks
28 attorney’s fees under this claim.

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 1                            THIRD CLAIM FOR RELIEF
 2                 Municipal Liability – Ratification (42 U.S.C. § 1983)
 3                          (All Plaintiffs against All Defendants)
 4         36.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 5 through 35 of this Complaint with the same force and effect as if fully set forth
 6 herein.
 7         37.   Defendants DOE OFFICERS acted under color of law;
 8         38.   The acts of Defendants DOE OFFICERS deprived VLADIMIR
 9 TSIPURSKY and INNA TSIPURSKY of their particular rights under the United
10 States Constitution.
11         39.   A final policymaker, acting under color of law, who had final
12 policymaking authority concerning the acts of Defendants DOE OFFICERS, ratified
13 Defendants DOE OFFICERS’ detention and use of force including deadly force
14 against Plaintiffs and Defendant DOE OFFICERS’ bases for this conduct, despite
15 having information and evidence that show that Defendants DOE OFFICERS’
16 detention and arrest of Plaintiffs was unlawful and that their use of force including
17 deadly force against VLADIMIR TSIPURSKY was excessive because he did not
18 pose an immediate threat of death or serious bodily injury at the time of the shooting
19 and was in police custody and was not resisting arrest at the time of the beating. The
20 final policymaker knew of and specifically approved of Defendants DOE
21 OFFICERS’ acts.
22         40.   Upon information and belief, a final policymaker has determined that
23 the acts of Defendants DOE OFFICERS were “within policy.”
24         41.   By reason of the aforementioned acts and omissions, Plaintiffs have
25 suffered pain, emotional distress, terror, and anxiety.
26         42.   Accordingly, Defendants CITY, DOE OFFICERS, and DOES 6-10
27 each are liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
28

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 1         43.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
 2 seeks compensatory damages for the violation of Plaintiff VLADIMIR
 3 TSIPURSKY’s rights. Plaintiff INNA TSIPURSKY brings this claim individually
 4 and seeks compensatory damages for the violation of Plaintiff INNA TSIPURSKY’s
 5 rights. Plaintiffs also seek attorney’s fees under this claim.
 6
 7                           FOURTH CLAIM FOR RELIEF
 8               Municipal Liability – Failure to Train (42 U.S.C. § 1983)
 9                          (All Plaintiffs against All Defendants)
10         44.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
11 through 43 of this Complaint with the same force and effect as if fully set forth
12 herein.
13         45.   Defendants DOE OFFICERS acted under color of law;
14         46.   The acts of Defendants DOE OFFICERS deprived VLADIMIR
15 TSIPURSKY and INNA TSIPURSKY of their particular rights under the United
16 States Constitution.
17         47.   The training policies of Defendant CITY were not adequate to train its
18 officers to handle the usual and recurring situations with which they must deal.
19 Specifically, Defendant CITY’s training policies were not adequate to train its
20 officers to avoid unlawful detentions and arrests and excessive uses of force.
21 Defendant CITY’s training policies were not adequate to train the officers to
22 properly use nonlethal and lethal force in the event that such force was warranted.
23         48.   Defendant CITY was deliberately indifferent to the obvious
24 consequences of its failure to train its officers adequately.
25         49.   The failure of Defendant CITY to provide adequate training, including
26 training with regards to detentions and use of force caused the deprivation of
27 VLADIMIR TSIPURSKY and INNA TSIPURSKY rights by Defendants DOE
28 OFFICERS; that is, Defendants’ failure to train is so closely related to the

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  1 deprivation of the VLADIMIR TSIPURSKY and INNA TSIPURSKY’s rights as to
  2 be the moving force that caused the ultimate injury.
  3         50.   On information and belief, CITY failed to train Defendants DOE
  4 OFFICERS properly and adequately.
  5         51.   By reason of the aforementioned acts and omissions, Plaintiffs have
  6 suffered physical pain, emotional distress, terror, and anxiety.
  7         52.   Accordingly, Defendants CITY, DOE OFFICERS, and DOES 6-10
  8 each are liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
  9         53.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
 10 seeks compensatory damages for the violation of Plaintiff VLADIMIR
 11 TSIPURSKY’s rights. Plaintiff INNA TSIPURSKY brings this claim individually
 12 and seeks compensatory damages for the violation of Plaintiff INNA TSIPURSKY’s
 13 rights. Plaintiffs also seek attorney’s fees under this claim.
 14
 15                             FIFTH CLAIM FOR RELIEF
 16     Municipal Liability – Unconstitutional Custom or Policy (42 U.S.C. § 1983)
 17                          (All Plaintiffs against All Defendants)
 18         54.   Plaintiff repeats and re-alleges each and every allegation in paragraphs
 19 1 through 53 of this Complaint with the same force and effect as if fully set forth
 20 herein.
 21         55.   Defendants DOE OFFICERS acted under color of law;
 22         56.   Defendants DOE OFFICERS acted pursuant to an expressly adopted
 23 official policy or a longstanding practice or custom of the Defendant CITY.
 24         57.   On information and belief, Defendants DOE OFFICERS were not
 25 disciplined, reprimanded, retrained, suspended, or otherwise penalized in connection
 26 with detention, arrest, and use of force including deadly force against VLADIMIR
 27 TSIPURSKY and the detention of INNA TSIPURSKY.
 28

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  1        58.   Defendants CITY, DOE OFFICERS, and DOES 6-10, together with
  2 other CITY policymakers and supervisors, maintained, inter alia, the following
  3 unconstitutional customs, practices, and policies:
  4              (a)    Using excessive force, including excessive deadly force;
  5              (b)    Providing inadequate training regarding the use of deadly force;
  6              (c)    Employing and retaining as police officers individuals such as
  7                     Defendants DOE OFFICERS, who Defendant CITY at all times
  8                     material herein knew or reasonably should have known had
  9                     dangerous propensities for abusing their authority and for using
 10                     excessive force;
 11              (d)    Inadequately supervising, training, controlling, assigning, and
 12                     disciplining CITY officers, and other personnel, including
 13                     Defendants DOE OFFICERS, who Defendant CITY knew or in
 14                     the exercise of reasonable care should have known had the
 15                     aforementioned propensities and character traits;
 16               (e)   Maintaining grossly inadequate procedures for reporting,
 17                     supervising, investigating, reviewing, disciplining and
 18                     controlling misconduct by CITY officers, including Defendants
 19                     DOE OFFICERS;
 20               (f)   Failing to adequately discipline CITY police officers, including
 21                     Defendants DOE OFFICERS, for the above-referenced
 22                     categories of misconduct, including “slaps on the wrist,”
 23                     discipline that is so slight as to be out of proportion to the
 24                     magnitude of the misconduct, and other inadequate discipline
 25                     that is tantamount to encouraging misconduct;
 26               (g)   Announcing that unjustified shootings are “within policy,”
 27                     including shootings that were later determined in court to be
 28                     unconstitutional;

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  1                (h)   Even where shootings are determined in court to be
  2                      unconstitutional, refusing to discipline, terminate, or retrain the
  3                      officers involved;
  4                (i)   Maintaining a policy of inaction and an attitude of indifference
  5                      towards soaring numbers of police shootings, including by
  6                      failing to discipline, retrain, investigate, terminate, and
  7                      recommend officers for criminal prosecution who participate in
  8                      unjustified shootings.
  9                (j) Failing to properly train police officers to use nonlethal force and
 10                      to maintain their equipment concerning nonlethal force.
 11         59.   By reason of the aforementioned acts and omissions, Plaintiffs have
 12 suffered physical pain, emotional distress, terror, and anxiety.
 13         60.   Defendants CITY, DOE OFFICERS, and DOES 6-10, together with
 14 various other officials, whether named or unnamed, had either actual or constructive
 15 knowledge of the deficient policies, practices and customs alleged in the paragraphs
 16 above. Despite having knowledge as stated above, these defendants condoned,
 17 tolerated and through actions and inactions thereby ratified such policies. Said
 18 defendants also acted with deliberate indifference to the foreseeable effects and
 19 consequences of these policies with respect to the constitutional rights of
 20 VLADIMIR TSIPURSKY, INNA TSIPURSKY, and other individuals similarly
 21 situated.
 22         61.   By perpetrating, sanctioning, tolerating and ratifying the outrageous
 23 conduct and other wrongful acts, Defendants DOE OFFICERS and DOES 6-10
 24 acted with intentional, reckless, and callous disregard for the life of VLADIMIR
 25 TSIPURSKY and for VLADIMIR TSIPURSKY and INNA TSIPURSKY
 26 constitutional rights. Furthermore, the policies, practices, and customs implemented,
 27 maintained, and still tolerated by Defendants CITY, DOE OFFICERS, and DOES 6-
 28 10 were affirmatively linked to and were a significantly influential force behind the

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  1 injuries of VLADIMIR TSIPURSKY and INNA TSIPURSKY, including but not
  2 limited to Defendants DOE OFFICERS’ unreasonable detention of VLADIMIR
  3 TSIPURSKY and INNA TSIPURSKY and use of excessive force, including deadly
  4 force, against VLADIMIR TSIPURSKY.
  5          62.   Accordingly, Defendants CITY, DOE OFFICERS, AND DOES 6-10
  6 each are liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
  7          63.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
  8 seeks compensatory damages for the violation of Plaintiff VLADIMIR
  9 TSIPURSKY’s rights. Plaintiff INNA TSIPURSKY brings this claim individually
 10 and seeks compensatory damages for the violation of Plaintiff INNA TSIPURSKY’s
 11 rights. Plaintiffs also seek attorney’s fees under this claim.
 12
 13                             SIXTH CLAIM FOR RELIEF
 14                            False Arrest/False Imprisonment
 15                  (Plaintiff INNA TSIPURSKY against All Defendants)
 16          64.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 17 through 63 of this Complaint with the same force and effect as if fully set forth
 18 herein.
 19          65.   Defendants DOE OFFICERS, while working as officers for the LBPD
 20 and CITY, and acting with the course and scope of their duties, intentionally
 21 deprived INNA TSIPURSKY of her freedom of movement by use of force, threats
 22 of force, menace, fraud, deceit, and unreasonable duress. DOE OFFICERS detained
 23 INNA TSIPURSKY without reasonable suspicion and arrested her without probable
 24 cause.
 25          66.   INNA TSIPURSKY did not knowingly or voluntarily consent.
 26          67.   Defendant DOE OFFICERS detained INNA TSIPURSKY for an
 27 appreciable amount of time, subjected her to extensive and stressful questioning,
 28 and did not allow her the freedom to leave.

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  1        68.    The conduct of DOE OFFICERS was a substantial fact in causing harm
  2 to INNA TSIPURSKY.
  3        69.    CITY is vicariously liable for the wrongful acts of Defendants DOE
  4 OFFICERS pursuant to section 815.2(a) of the California Government Code, which
  5 provides that a public entity is liable for the injuries caused by its employees within
  6 the scope of the employment if the employee’s act would subject him or her to
  7 liability.
  8        70.    The conduct of Defendants DOE OFFICERS was malicious, wanton,
  9 oppressive, and accomplished with a conscious disregard for the rights of INNA
 10 TSIPURSKY, entitling INNA TSIPURSKY to an award of exemplary and punitive
 11 damages as to Defendants DOE OFFICERS.
 12        71.    Plaintiff INNA TSIPURSKY brings this claim individually and seeks
 13 compensatory damages.
 14
 15                          SEVENTH CLAIM FOR RELIEF
 16                                         Battery
 17              (Plaintiff VLADIMIR TSIPURSKY against All Defendants)
 18        72.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 19 through 63 of this Complaint with the same force and effect as if fully set forth
 20 herein.
 21        73.    Defendants DOE OFFICERS, while working as officers for the LBPD
 22 and CITY, and acting within the course and scope of their duties, intentionally shot
 23 VLADIMIR TSIPURSKY and used unreasonable and excessive force against him.
 24 As a result of the actions of Defendants DOE OFFICERS, VLADIMIR
 25 TSIPURSKY suffered great physical pain and emotional distress. Defendants DOE
 26 OFFICERS had no legal justification for using force against VLADIMIR
 27 TSIPURSKY, and their use of force while carrying out their duties as police officers
 28 was an unreasonable and non-privileged use of force.

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  1         74.   As a direct and proximate result of the conduct of Defendants DOE
  2 OFFICERS as alleged above, VLADIMIR TSIPURSKY sustained serious physical
  3 injuries.
  4         75.   CITY is vicariously liable for the wrongful acts of Defendants DOE
  5 OFFICERS pursuant to section 815.2(a) of the California Government Code, which
  6 provides that a public entity is liable for the injuries caused by its employees within
  7 the scope of the employment if the employee’s act would subject him or her to
  8 liability.
  9         76.   The conduct of Defendants DOE OFFICERS was malicious, wanton,
 10 oppressive, and accomplished with a conscious disregard for the rights of
 11 VLADIMIR TSIPURSKY, entitling VLADIMIR TSIPURSKY to an award of
 12 exemplary and punitive damages as to Defendants DOE OFFICERS.
 13         77.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
 14 seeks compensatory damages.
 15
 16                           EIGHTH CLAIM FOR RELIEF
 17                                        Negligence
 18 (Plaintiffs VLADIMIR TSIPURSY and INNA TSIPURSKY against all Defendants)
 19         78.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 20 through 77 of this Complaint with the same force and effect as if fully set forth
 21 herein.
 22         79.   Police officers, including Defendants, have a duty to use reasonable
 23 care to prevent harm or injury to others. This duty includes using appropriate tactics,
 24 giving appropriate commands, giving warnings, and not using any force unless
 25 necessary, using less than lethal options, and only using deadly force as a last resort.
 26         80.    Defendants DOE OFFICERS and DOES 6-10 breached this duty of
 27 care. Upon information and belief, the actions and inactions of Defendants DOE
 28

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  1 OFFICERS and DOES 6-10 were negligent and reckless, including but not limited
  2 to:
  3               (a)    the failure to properly and adequately assess the need to detain
  4                      INNA TSIPURSKY and arrest and use force or deadly force
  5                      against VLADIMIR TSIPURSKY;
  6               (b)    the negligent tactics and handling of the situation with INNA
  7                      TSIPURSKY and VLADIMIR TSIPURSKY, including pre-
  8                      shooting negligence;
  9               (c)    the negligent detention of INNA TSIPURSKY and arrest and use
 10                      of force, including deadly force, against VLADIMIR
 11                      TSIPURSKY;
 12               (d)    the failure to provide prompt medical care to VLADIMIR
 13                      TSIPURSKY;
 14                (e)   the failure to properly train and supervise employees, both
 15                      professional and non-professional, including DOE OFFICERS;
 16               (f)    the failure to ensure that adequate numbers of employees with
 17                      appropriate education and training were available to meet the
 18                      needs of and protect the rights of VLADIMIR TSIPURSKY and
 19                      INNA TSIPURSKY;
 20               (g)    the negligent handling of evidence and witnesses; and
 21               (h)    the negligent communication of information during the incident.
 22        81.    As a direct and proximate result of Defendants’ conduct as alleged
 23 above, and other undiscovered negligent conduct, VLADIMIR TSIPURSKY
 24 suffered severe physical pain and injuries. Also as a direct and proximate result of
 25 Defendants’ conduct as alleged above, VLADIMIR TSIPURSKY and INNA
 26 TSIPURSKY suffered emotional distress and mental anguish.
 27        82.    CITY is vicariously liable for the wrongful acts of Defendants DOE
 28 OFFICERS and DOES 6-10 pursuant to section 815.2(a) of the California

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  1 Government Code, which provides that a public entity is liable for the injuries
  2 caused by its employees within the scope of the employment if the employee’s act
  3 would subject him or her to liability.
  4         83.   Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
  5 seeks compensatory damages. Plaintiff INNA TSIPURSKY brings this claim
  6 individually and seeks compensatory damages.
  7
  8                            NINTH CLAIM FOR RELIEF
  9                             (Violation of Cal. Civil Code § 52.1)
 10                  (Plaintiff VLADIMIR TSIPURSKY against all Defendants)
 11         84.   Plaintiff repeats and re-alleges each and every allegation in
 12 paragraphs 1 through 83 of this Complaint with the same force and effect as if fully
 13 set forth herein.
 14         85.   California Civil Code, Section 52.1 (the Bane Act), prohibits any
 15 person from using violent acts or threatening to commit violent acts in retaliation
 16 against another person for exercising that person’s constitutional rights.
 17         86.   On information and belief, Defendants DOE OFFICERS, while
 18 working for the CITY and acting within the course and scope of their duties,
 19 intentionally committed and attempted to commit acts of violence against
 20 VLADIMIR TSIPURSKY or acted in reckless disregard of VLADIMIR
 21 TSIPURSKY’s civil rights, including by shooting him and beating him without
 22 justification or excuse.
 23         87.   When Defendants DOE OFFICERS shot VLADIMIR TSIPURSKY
 24 and subsequently beat him, they interfered with his civil rights to be free from
 25 unreasonable searches and seizures, to due process, to equal protection of the laws,
 26 to medical care, to be free from state actions that shock the conscience, and to life,
 27 liberty, and property.
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  1        88.    On information and belief, Defendants intentionally and spitefully
  2 committed the above acts to discourage VLADIMIR TSIPURSKY from exercising
  3 his civil rights, to retaliate against him for invoking such rights, to prevent him from
  4 exercising such rights, or acted in reckless disregard of his civil rights, which he was
  5 fully entitled to enjoy.
  6        89.    On information and belief, VLADIMIR TSIPURSKY reasonably
  7 believed and understood that the violent acts committed by Defendants DOE
  8 OFFICERS, inclusive were intended to discourage them from exercising the above
  9 civil rights, to retaliate against them, or invoking such rights, or to prevent them
 10 from exercising such rights.
 11        90.     Defendants successfully interfered with the above civil rights of
 12 VLADIMIR TSIPURSKY.
 13        91.    The conduct of Defendants was a substantial factor in causing
 14 VLADIMIR TSIPURSKY’s harms, losses, injuries, and damages.
 15        92.    CITY is vicariously liable for the wrongful acts of Defendants DOE
 16 OFFICERS and DOES 6-10, inclusive pursuant to section 815.2(a) of the California
 17 Government Code, which provides that a public entity is liable for the injuries
 18 caused by its employees within the scope of the employment if the employee’s act
 19 would subject him or her to liability.
 20        93.    Defendants DOES 6-10 are vicariously liable under California law and
 21 the doctrine of respondeat superior.
 22        94.    The conduct of Defendants DOE OFFICERS was malicious, wanton,
 23 oppressive, and accomplished with a conscious disregard for VLADIMIR
 24 TSIPURSKY’s rights, justifying an award of exemplary and punitive damages as to
 25 Defendants DOE OFFICERS.
 26        95.    Plaintiff VLADIMIR TSIPURSKY brings this claim individually and
 27 seeks compensatory damages under this claim. Plaintiff VLADIMIR TSIPURSKY
 28 also seeks treble damages, attorney’s fees, and costs under this claim.

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  1                                PRAYER FOR RELIEF
  2        WHEREFORE, Plaintiffs Vladimir Tsipursky and Inna Tsipursky request
  3 entry of judgment in their favor and against Defendants City of Long Beach, and
  4 Does 1-10, inclusive, as follows:
  5              A.    For compensatory damages in an amount to be proven at trial;
  6              B.    For punitive damages against the individual defendants in an
  7                    amount to be proven at trial;
  8              C.    For statutory damages;
  9              D.    For treble damages pursuant to California Civil Code Sections
 10                    52, 52.1;
 11              E.    For interest;
 12              F.    For reasonable attorneys’ fees, including litigation expenses;
 13              G.    For costs of suit; and
 14              H.    For such further other relief as the Court may deem just, proper,
 15                    and appropriate.
 16
 17 DATED: December 6, 2018               LAW OFFICES OF DALE K. GALIPO
                                          BAER TREGER LLP
 18
 19
 20                                       By            /s/ Dale K. Galipo
                                            Dale K. Galipo
 21                                         Andrew L. Treger
                                            Hang D. Le
 22                                         Attorneys for Plaintiffs

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  1                           DEMAND FOR JURY TRIAL
  2        Plaintiffs hereby demand a trial by jury.
  3
  4 DATED: December 6, 2018              LAW OFFICES OF DALE K. GALIPO
                                         BAER TREGER LLP
  5
  6
  7                                      By            /s/ Dale K. Galipo
                                           Dale K. Galipo
  8                                        Hang D. Le
                                           Andrew L. Treger
  9                                        Attorneys for Plaintiffs

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